Case 1:04-cv-07280-GBD-SN Document 536-6 Filed 04/01/19 Page 1 of 5




            Exhibit 6
                    Case 1:04-cv-07280-GBD-SN Document 536-6 Filed 04/01/19 Page 2 of 5




          World Assembly of Muslim Youth
                    Member of the UN NGO's


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Case 1:04-cv-07280-GBD-SN Document 536-6 Filed 04/01/19 Page 3 of 5
Case 1:04-cv-07280-GBD-SN Document 536-6 Filed 04/01/19 Page 4 of 5
Case 1:04-cv-07280-GBD-SN Document 536-6 Filed 04/01/19 Page 5 of 5
